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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3102

vs.
                                                TENTATIVE FINDINGS
DENNIS TIMOTHY WOOD,

                 Defendant.

      The Court has received the presentence investigation report (PSR) in
this case. The defendant has objected (filing 46) and moved for a downward
departure (filing 49) and variance (filing 50).

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   Wood has objected (filing 46) and moved for a downward departure
     (filing 49) and variance (filing 50). Wood has pleaded guilty to
     conspiracy to commit mail and wire fraud, in violation of 18 U.S.C. §§
     1341, 1343, and 1349. Wood was involved in a conspiracy with his co-
     defendant and brother-in-law, Howard John Barta, and an unknown
     conspirator, known to Wood and Barta only as "Smith." PSR at ¶ 44.
     Smith would contact a person who had advertised an item for sale on
     Craigslist and would agree to buy the item for a specific price. Smith
     would tell the seller that payment would be sent in the form of money
     orders payable to the seller. Then Smith would cause money orders
     totaling more than the sale price to be sent to the seller. Smith would
     contact the seller and explain that he had mistakenly sent too many
     money orders, and since they were already made payable to the seller,
     Smith could not take them back. Smith convinced the sellers to agree to
     deposit all of the money orders, keep the amount needed to pay for the
     item, and send the excess back to Smith. When the money orders were
     later determined to be fraudulent, the sellers would lose the amount
     that had been sent to Smith. PSR at ¶¶ 44–45.

     Barta and Wood's role in the scheme was to mail the money orders to
     the victims. Smith would email the defendants the victims' names and
     addresses, with instructions on how many money orders to send. Smith
     also mailed the defendants the counterfeit money orders, typically with
     the victim's name and amount payable already printed. The defendants
     would then print envelopes, fill them with the specified number of
     money orders, and mail them to the victims. Smith would wire transfer
     about $400 a month to Barta's bank account to pay for envelopes and
     stamps. There was always some money left over, which Barta and
     Wood kept for themselves. See PSR at ¶¶ 44–45, 47–53.

                         A. Timing of Wood's Involvement
     Wood first objects to various portions of the PSR which identify his
     involvement in the present conspiracy as beginning in January 2010.
     Relatedly, Wood objects to the PSR's statement that he told
     investigators he had received packages from Smith beginning in


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    January 2010. See PSR at ¶ 53. Wood maintains that his involvement
    began no earlier than November 2010. In his plea agreement, Wood
    stipulated that his involvement in the conspiracy began in
    "approximately" January 2010. Filing 31 at 2. The government
    maintains that the "idea that Mr. Wood did not join the conspiracy
    until November 2010 is a recent invention by him." Filing 45 at 1. But
    at his change of plea hearing, he was careful to insist that his
    involvement did not begin until November 2010. See filing 41 at 18–23.
    So, the parties dispute when Wood's involvement began. To the extent
    this dispute matters, the Court will resolve it at sentencing.

                               B. Loss Calculation
    The Guidelines in this case provide for a base offense level of 7, with
    graduated increases based on the amount of loss caused by the
    defendant. U.S.S.G. § 2B1.1(a) & (b); PSR at ¶ 63. For purposes of §
    2B1.1(b), loss is calculated as the greater of the actual or intended loss.
    Actual loss is defined as the "reasonably foreseeable pecuniary harm
    that resulted from the offense." U.S.S.G. § 2B1.1 cmt. n.3(A)(i). And
    "reasonably foreseeable pecuniary harm" is further defined as that
    harm that the defendant knew, or under the circumstances, reasonably
    should have known, was a potential result of the offense. Id. cmt.
    n.3(A)(iii).

    Intended loss, by comparison, includes any "pecuniary harm that was
    intended to result from the offense," including harm that was
    "impossible or unlikely to occur." Id. cmt. n.3(A)(ii). If the actual or
    intended loss cannot reasonably be determined, the Court may use the
    gain to the defendant as an alternative measure of loss. Id. cmt. n.3(B).
    Ultimately, this Court only needs to make a "reasonable estimate of the
    loss." Id. cmt. n.3(C); see United States v. Rice, 699 F.3d 1043, 1049 (8th
    Cir. 2012).

    In their plea agreement, Wood and the government stipulated that
    "[d]uring the course of the conspiracy, a total of 49 victims sent a total
    of $62,011.17 to 'Smith.'" Filing 31 at 2. Initially, then, it would appear
    that the actual loss in this case, for Guideline purposes, is $62,011.17.
    However, if Wood's involvement only began in November 2010, then the
    loss figure would likely be lower. A defendant's relevant conduct does
    not include the conduct of other members of a conspiracy prior to the
    defendant's joining the conspiracy, even if the defendant knows of that
    conduct. United States v. Cain, 128 F.3d 1249, 1253 (8th Cir. 1997)


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    (citing U.S.S.G. § 1B1.3 n.2); see also United States v. Rice, 776 F.3d
    1021, 1026 (9th Cir. 2015).

    However, the timing of Wood's involvement in the conspiracy likely has
    no effect on his Guidelines sentence. And he does not appear to argue
    otherwise. The Guidelines call for a six-level increase for losses
    between $30,000 and $70,000, which is where Wood falls if the entire
    $62,011.17 is attributed to him. In order to have an effect on his
    Guidelines sentence, he would have to have been responsible for less
    than $30,000—a claim he has not made (at least explicitly).

    Rather, Wood objects to the probation officer's determination that the
    much higher amount of intended loss should be used to determine
    Wood's offense level. The probation officer arrived at a total intended
    loss of $1,544,492. PSR at ¶ 52. This figure was based on the following
    calculations. The defendants caused 4,476 counterfeit money orders
    and cashier checks to be delivered, totaling $4,633,476. Smith's aim
    was to convince the victims to return the difference between the
    Craigslist item and the total value of the money orders sent. This was
    typically one-third to one-half of the total sent. Thus, the probation
    officer divided the total amount by 3, to arrive at a total intended loss
    of $1,544,492. PSR at ¶ 52.

    Wood objects, arguing that the terms of the plea agreement should
    control. In addition to stipulating to the amount of actual loss, the
    parties agreed that the intended loss so far exceeded the actual loss
    that the actual loss should be used for all sentencing calculations.
    Filing 31 at 3. Wood has also moved for a downward departure under
    U.S.S.G. § 2B1.1 cmt n.20(C). That comment provides that there may
    be cases in which the offense level determined by a strict application of
    § 2B1.1 would substantially overstate the seriousness of an offense, and
    that in such circumstances a downward departure may be warranted.
    U.S.S.G. § 2B1.1 cmt n.20(C).

    The Court tentatively finds that such circumstances are present in this
    case. The actual loss is at most $62,011.17, which is only 4 percent of
    the intended loss as calculated in the PSR. The actual loss represents a
    more reasonable measure of Wood's culpability. So, the Court
    tentatively finds that a departure under U.S.S.G. § 2B1.1 cmt n.20(C)
    is warranted. If the PSR had calculated Wood's offense level based on
    this amount of loss, then his base offense level would have been


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        increased by only 6 levels, rather than 16. See, U.S.S.G. §
        2B1.1(b)(1)(D), (I); PSR at ¶ 64. The Court tentatively finds that a
        similar departure is warranted.

                                     C. Restitution
        The PSR also calls for restitution in the amount of $62,011.17. In his
        initial objections submitted to the probation officer, Wood argued that
        because his involvement began later than January 2010, he should not
        be held responsible for restitution in the full amount of $62,011.17. See
        PSR at p. 21. Wood appears to have since withdrawn this objection, but
        the Court cannot be sure.1 To the extent, then, that Wood's involvement
        did not begin until some later time, and to the extent he intends to
        persist in his objection regarding restitution, the Court makes the
        following tentative observations.

        The Court can only order restitution when explicitly empowered to do
        so by statute. United States v. Doering, 759 F.3d 862, 866 (8th Cir.
        2014). In this case, the Court's authorization comes from the
        Mandatory Victims Restitution Act ("MVRA"), 18 U.S.C. § 3663A.
        Subject to two exceptions, restitution orders under the MVRA are
        limited to losses caused by the specific conduct that is the basis of the
        offense of conviction. United States v. Chalupnik, 514 F.3d 748, 752
        (8th Cir. 2008). Therefore, restitution may be awarded only to the
        victims of the offense of conviction, and a victim may not be
        compensated for conduct unrelated to the offense of conviction, even if
        that unrelated conduct was the subject of criminal charges dismissed
        by the government in exchange for the defendant's guilty plea.
        Chalupnik, 514 F.3d at 752. Nor does it matter that conduct falling
        outside the offense of conviction might be considered "relevant conduct"
        under the Guidelines; that inquiry is broader than, and distinct from
        whether restitution may be ordered. See United States v. Locke, 643
        F.3d 235, 247 n.7 (7th Cir. 2011).

        The pertinent portion of the MVRA provides:

              (2) For the purposes of this section, the term “victim”
              means a person directly and proximately harmed as a

1 The objections currently before the Court do not mention restitution. While Wood has
objected to one PSR paragraph addressing restitution, PSR at ¶ 57, he has only objected to
it insofar as it states his involvement began in January 2010. See filing 46 at 2.


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          result of the commission of an offense for which restitution
          may be ordered including, in the case of an offense that
          involves as an element a scheme, conspiracy, or pattern of
          criminal activity, any person directly harmed by the
          defendant's criminal conduct in the course of the scheme,
          conspiracy, or pattern. In the case of a victim who is under
          18 years of age, incompetent, incapacitated, or deceased,
          the legal guardian of the victim or representative of the
          victim's estate, another family member, or any other person
          appointed as suitable by the court, may assume the victim's
          rights under this section, but in no event shall the
          defendant be named as such representative or guardian.

          (3) The court shall also order, if agreed to by the parties in
          a plea agreement, restitution to persons other than the
          victim of the offense.

    18 U.S.C. § 3663A(a)(2)–(3).

    In sum, restitution orders are limited to (1) losses caused by the specific
    conduct that is the basis of the offense of conviction; (2) cases which
    include as an element a scheme, conspiracy, or pattern of criminal
    activity, any losses caused by the defendant's criminal conduct in the
    course of that scheme, conspiracy, or pattern; or (3) restitution agreed
    to in a plea agreement.

    The offenses to which Wood has pleaded guilty involve as elements both
    a scheme and a conspiracy. See 18 U.S.C. §§ 1341, 1343, and 1349.
    Even so, Wood is only liable for restitution directly and proximately
    caused by his conduct in that conspiracy, which does not include losses
    caused before he joined the conspiracy. See United States v. Squirrel,
    588 F.3d 207 (4th Cir. 2009); see also, Rice, 776 F.3d at 1026; Cain, 128
    F.3d at 1253.

    However, the Court reads Wood's plea agreement as authorizing
    restitution of the full $62,011.17. Wood stipulated that "the Court may
    order restitution to all victims, not just those pertaining to the count of
    conviction." Filing 31 at 3 (emphasis supplied). And Wood stipulated
    that the conspiracy in this case involved 49 victims who incurred losses
    of $62,011.17. Filing 31 at 2. Thus, the Court tentatively finds that



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     regardless of when Wood became involved in the present conspiracy,
     restitution in the full amount of $62,011.17 is appropriate.

                         D. Mitigating Role Adjustment
     Wood has also objected to the PSR's recommendation regarding an
     adjustment for his role in the offense under U.S.S.G. § 3B1.2. That
     Guideline provides for a two-level decrease in the offense level if the
     defendant was a "minor participant" and a four-level decrease for
     "minimal" participants. U.S.S.G. § 3B1.2. The probation officer
     recommended that Wood receive a two-level downward adjustment.
     PSR ¶¶ 56, 67. But Wood contends that he is entitled to the full four-
     level adjustment. The full four-level adjustment only applies to
     defendants who are "plainly among the least culpable." U.S.S.G. §
     3B1.2 cmt. n.4. It is the defendant's burden to establish that a minor or
     minimal participant reduction is warranted. United States v. Gayekpar,
     678 F.3d 629, 639 (8th Cir. 2012). And even if a defendant is less
     culpable than some other participants, an adjustment is not warranted
     if he was nonetheless "deeply involved" in the offense. United States v.
     Rodriguez-Ramos, 663 F.3d 356, 366 (8th Cir. 2011). Cognizant of these
     principles, the Court will resolve this issue at sentencing

      E. Motion for Variance and Remaining Grounds for Departure
     Wood has moved for a downward departure, citing U.S.S.G. §§ 5H1.1
     (age), 5H1.4 (physical condition), and 5H1.6 (family ties and
     responsibilities). Filing 49. Wood has also moved for a variance, citing
     these and other factors. Filing 50. The Court tentatively finds Wood's
     motion for departure on these grounds to be without merit; but will
     resolve this matter at sentencing. Wood's motion for a variance will
     likewise be resolved at sentencing.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the


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     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 1st day of April, 2015.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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